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                     Exhibit A
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February 14, 2025


Emil Bove
Deputy Attorney General
United States Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530


Re:     U.S. v. Eric Adams, Case No. 24-Cr-556-DEH (S.D.N.Y. 2024)

Dear Mr. Bove:

       I write on behalf of Mayor Eric Adams. Mayor Adams agrees to dismissal without
prejudice of the charges against him and that he is not a prevailing party under the Hyde
Amendment, Pub. L. 105-119 (Nov. 26, 1997), in the above-referenced case.



Sincerely,

/s/ Alex Spiro

Alex Spiro
William A. Burck




      quinn emanuel urquhart & sullivan, llp
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